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1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MINNESOTA
                                                         ST. PAUL DIVISION


               In Re:                                             §
                                                                  §
               THE TRIESCH GROUP, LLC                             §        Case No. 18-32352
                                                                  §
                                   Debtor                         §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       John A. Hedback              , chapter 7 trustee, submits this Final Account, Certification
               that the Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 392,512.43                                 Assets Exempt: NA
               (Without deducting any secured claims)

               Total Distributions to Claimants: 1,047,737.11               Claims Discharged
                                                                            Without Payment: NA

               Total Expenses of Administration: 102,610.61


                       3) Total gross receipts of $1,150,347.72 (see Exhibit 1), minus funds paid to the debtor
               and third parties of $0.00 (see Exhibit 2), yielded net receipts of $1,150,347.72 from the
               liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS               CLAIMS                 CLAIMS             CLAIMS
                                                SCHEDULED             ASSERTED               ALLOWED              PAID



SECURED CLAIMS
(from Exhibit 3)                                          $NA            $1,047,737.11        $1,047,737.11       $1,047,737.11

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA             103,984.60           103,984.60              102,610.61

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                    NA                   NA                     NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                              6,226.86               6,181.76             6,181.76                   0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                              940,059.78            504,803.78           504,803.78                    0.00

TOTAL DISBURSEMENTS                                 $946,286.64          $1,662,707.25        $1,662,707.25       $1,150,347.72


                 4) This case was originally filed under chapter 7 on 07/25/2018. The case was pending
          for 34 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 05/07/2021                        By:/s/John A. Hedback
                                                                                   Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                               EXHIBITS TO
                                                             FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                         $ AMOUNT
                                                                          TRAN. CODE1                                      RECEIVED

     Service Station & Convenience Store                                      1129-000                                       1,150,000.00

           XCEL ENERGY REFUND                                                 1229-000                                               347.72

TOTAL GROSS RECEIPTS                                                                                                        $1,150,347.72
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                           UNIFORM              $ AMOUNT
                                                                                                     TRAN. CODE               PAID

NA                                                                                                      NA                              NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                           $NA
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM        CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.      SCHEDULED                                                     CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE      (from Form 6D)

              MCA RECOVERY LLC IN
              TRUST FOR                           4110-000                NA             10,000.00            10,000.00            10,000.00


              STOEBNER & PUSCH
              CHART LAPP LIBRA                    4110-000                NA           154,172.00            154,172.00        154,172.00




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                                                 UNIFORM         CLAIMS
                                                                                CLAIMS           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.       SCHEDULED                                            CLAIMS PAID
                                                                               ASSERTED         ALLOWED
                                                  CODE       (from Form 6D)

             WOODLANDS NATIONAL
             BANK                                4110-000                NA       783,748.76       783,748.76         783,748.76


             AEROTEK                             4120-000                NA        14,155.00        14,155.00             14,155.00


             DOOLEY PETROLEUM                    4120-000                NA        85,661.35        85,661.35             85,661.35

TOTAL SECURED CLAIMS                                                    $NA     $1,047,737.11    $1,047,737.11      $1,047,737.11


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                              CLAIMS           CLAIMS            CLAIMS
               PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                            SCHEDULED         ASSERTED          ALLOWED
                                           CODE

John A. Hedback                            2100-000                   NA         38,620.38         38,620.38              38,620.38


John A. Hedback                            2200-000                   NA          1,406.40          1,406.40                940.36


LTD. INTERNATIONAL SURETIES                2300-000                   NA             18.26             18.26                 18.26


CITY OF WYOMING                            2420-000                   NA          1,730.33          1,730.33               1,730.33


CSU PRODUCER RESOURCES
INC                                        2420-000                   NA            161.00            161.00                161.00


Axos Bank                                  2600-000                   NA              0.00              0.00                   0.00


CLERK OF BANKRUPTCY
COURT                                      2700-000                   NA            181.00            181.00                121.02


US TREASURY                                2810-000                   NA          6,959.00          6,959.00               6,959.00


CHISAGO COUNTY                             2820-000                   NA         40,652.23         40,652.23              40,652.23




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                                         UNIFORM
                                                              CLAIMS              CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                      CLAIMS PAID
                                                            SCHEDULED            ASSERTED          ALLOWED
                                          CODE

MN DEPT OF REVENUE                        2820-000                      NA            5,642.00          5,642.00             5,642.00


CHERYL G WESLER                           3410-000                      NA            2,355.00          2,355.00             1,574.62


CHERYL G WESLER                           3420-000                      NA              204.00           204.00               136.41


CHICAGO TITLE INSURANCE CO                3520-000                      NA            6,055.00          6,055.00             6,055.00

TOTAL CHAPTER 7 ADMIN. FEES                                            $NA         $103,984.60       $103,984.60         $102,610.61
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                              CLAIMS              CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                      CLAIMS PAID
                                                            SCHEDULED            ASSERTED          ALLOWED
                                          CODE

NA: NA                                          NA                      NA                  NA              NA                   NA

TOTAL PRIOR CHAPTER ADMIN.                                             $NA                $NA              $NA                  $NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS              CLAIMS
                                                UNIFORM
                                                              SCHEDULED            ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                                CLAIMS PAID
                                                               (from Form        (from Proofs of   ALLOWED
                                                 CODE
                                                                   6E)               Claim)

            INTERNAL REVENUE
3           SERVICE                              5800-000             6,226.86          6,181.76         6,181.76                0.00

TOTAL PRIORITY UNSECURED                                          $6,226.86            $6,181.76        $6,181.76              $0.00
CLAIMS




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            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED         CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form       (from Proofs of   ALLOWED
                                                 CODE
                                                                6F)              Claim)

            AMERICAN EXPRESS
8           CENTURION BANK                      7100-000          2,888.31          2,888.31        2,888.31              0.00


            BANKRUPTCY ESTATE OF
4           DELBERT TRIESC                      7100-000              NA          249,000.00      249,000.00              0.00


            DEBBIE AND BOB
5           STOFFEL                             7100-000          5,000.00          5,000.00        5,000.00              0.00


            EBY-BROWN COMPANY,
7           LLC                                 7100-000       17,819.39           17,819.39       17,819.39              0.00


            HALPERN LAW FIRM,
1           PLLC                                7100-000          3,022.57          3,106.54        3,106.54              0.00


2           ITRIA VENTURES LLC                  7100-000      158,903.47          158,903.47      158,903.47              0.00


6           JORDAN TRIESCH                      7100-000       18,963.55           18,963.58       18,963.58              0.00


            WOODLANDS NATIONAL
9           BANK                                7100-000      733,462.49           49,122.49       49,122.49              0.00

TOTAL GENERAL UNSECURED                                      $940,059.78         $504,803.78     $504,803.78             $0.00
CLAIMS




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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                             Exhibit 8
Case No:              18-32352                         WJF            Judge:        William J. Fisher                              Trustee Name:                      John A. Hedback
Case Name:            THE TRIESCH GROUP, LLC                                                                                       Date Filed (f) or Converted (c):   07/25/2018 (f)
                                                                                                                                   341(a) Meeting Date:               08/20/2018
For Period Ending:    05/07/2021                                                                                                   Claims Bar Date:                   01/13/2020


                                   1                                                2                             3                             4                          5                             6

                         Asset Description                                       Petition/                  Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled              (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                  Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                             Exemptions,                                                                               Assets
                                                                                                           and Other Costs)

  1. Inventory - Soda                                                                        500.00                      500.00                                                        0.00                        FA
  2. Inventory and Supplies                                                                  750.00                      750.00                                                        0.00                        FA
  3. Merchanidise rachs & other equipment                                                17,362.43                     17,362.43                                                       0.00                        FA
  4. Dell Computer                                                                           100.00                      100.00                                                        0.00                        FA
  5. Service Station & Convenience Store                                             1,050,000.00                 1,050,000.00                                              1,150,000.00                           FA
  6. 400 Acres Land in Askov, MN                                                        373,800.00                    373,800.00               OA                                      0.00                        FA
  7. XCEL ENERGY REFUND                              (u)                                     347.72                      347.72                                                     347.72                         FA


                                                                                                                                                                                    Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $1,442,860.15                $1,442,860.15                                             $1,150,347.72                         $0.00
                                                                                                                                                                                    (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Askov prop is being foreclosed. Potential sale fell through. Redemption period expires in the fall. Tax returns will be completed at that time. Trustee would hope to file the TFR
  in early 2021. August 24, 2020,
  Trustee is working to see land and bulding but issues continue to arise affecting closing of the sale. Trustee is lowering the asking price for the Askov property. Hopefully these
  sales con be completed in the near future and the estate can be closed in 2020. October 10, 2019,

  Trustee is still determing if there are assets available for the estate. Hopefully the case can by closed by the end of 2019. October 01, 2018, 04:12 pm



  Initial Projected Date of Final Report (TFR): 08/30/2019            Current Projected Date of Final Report (TFR): 03/31/2021




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                                                                      ESTATE CASH RECEIPTS AND11
                                                                                            of  DISBURSEMENTS RECORD
           Case No: 18-32352                                                                                               Trustee Name: John A. Hedback                                              Exhibit 9
      Case Name: THE TRIESCH GROUP, LLC                                                                                      Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX1959
                                                                                                                                            Checking Account (Non-Interest Earn
  Taxpayer ID No: XX-XXX3739                                                                             Blanket Bond (per case limit): $37,979,000.00
For Period Ending: 05/07/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
   11/27/19                       CHICAGO TITLE INSURANCE CO                PROCEEDS FROM SALE OF                                                         $53,825.33                                   $53,825.33
                                                                            LAND
                                                                            Gross Receipts                      $1,150,000.00

                                  WOODLANDS NATIONAL BANK                   MTGE PAYMENT                         ($783,748.76)       4110-000
                                  WOODLANDS NATIONAL BANK
                                  STOEBNER & PUSCH CHART LAPP               2ND MTGE PAYMENT                     ($154,172.00)       4110-000
                                  LIBRA
                                  LAPP, LIBRA, STOEBNER & PUSCH
                                  CHARTERED
                                  DOOLEY PETROLEUM                          DOOLEY PETROLEUM LIEN                    ($85,661.35)    4120-000
                                  DOOLEY PETROLEUM                          PYMT
                                  AEROTEK                                   AEROTEK LIEN PAYOFF                      ($14,155.00)    4120-000
                                  AEROTEK
                                  MCA RECOVERY LLC IN TRUST FOR             YELLOWSTONE CAPITAL                      ($10,000.00)    4110-000
                                                                            PAYOFF
                                  MCA RECOVERY LLC IN TRUST
                                  FORYELLOWSTONE CAPITAL
                                  CHICAGO TITLE INSURANCE CO                CLOSING EXPENSES                          ($6,055.00)    3520-000
                                  CHICAGO TITLE INSURANCE CO
                                  CHISAGO COUNTY                            TAXES PAYABLE BY ESTATE                  ($40,652.23)    2820-000
                                  CHISAGO COUNTY
                                  CITY OF WYOMING                           DELINQUENT UTILITIES                      ($1,730.33)    2420-000
                                  CITY OF WYOMING
                        5                                                   Service Station & Convenience       $1,150,000.00        1129-000
                                                                            Store
   12/20/19           2001        CSU PRODUCER RESOURCES INC                INSURANCE ACCT                                           2420-000                                         $161.00          $53,664.33
                                                                            3000406704
   02/07/20             7         ENERGY, XCEL                              XCEL ENERGY REFUND                                       1229-000                   $54.82                                 $53,719.15

   06/01/20           2002        INTERNATIONAL SURETIES, LTD.              BOND #016018054                                          2300-000                                          $18.26          $53,700.89
                                  SUITE 420
                                  701 POYDRAS STREET
                                  NEW ORLEANS, LA 70139
   11/13/20             7         ENERGY, XCEL                              XCEL ENERGY REFUND                                       1229-000                  $292.90                                 $53,993.79




                                                                                   Page Subtotals:                                                        $54,173.05                  $179.26
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                                                                      ESTATE CASH RECEIPTS AND11
                                                                                            of  DISBURSEMENTS RECORD
           Case No: 18-32352                                                                                                  Trustee Name: John A. Hedback                                               Exhibit 9
      Case Name: THE TRIESCH GROUP, LLC                                                                                         Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX1959
                                                                                                                                               Checking Account (Non-Interest Earn
  Taxpayer ID No: XX-XXX3739                                                                                Blanket Bond (per case limit): $37,979,000.00
For Period Ending: 05/07/2021                                                                               Separate Bond (if applicable):


       1                2                             3                                                4                                                      5                      6                      7

Transaction Date    Check or                Paid To / Received From                        Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)       Account/CD Balance
                    Reference                                                                                                              Code                                                             ($)
   12/21/20           2003        US TREASURY                               2019 TAXES                                                  2810-000                                      $6,959.00            $47,034.79
                                  US TREASURY
   12/21/20           2004        MN DEPT OF REVENUE                        2019 TAXES                                                  2820-000                                      $5,642.00            $41,392.79
                                  PO BOX 64447
                                  ST PAUL, MN 55164
   03/03/21                       Axos Bank                                 Bank Service Fee under 11                                   2600-000                                          $41.78           $41,351.01
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/05/21                       Axos Bank                                 Service Charge Refund                                       2600-000                                         ($41.78)          $41,392.79
                                  4350 La Jolla Village Dr, Suite 140
                                  San Diego, CA 92122
   03/26/21           2005        John A. Hedback                           Distribution                                                                                             $39,560.74              $1,832.05
                                  2855 Anthony Lane So
                                  St Anthony, MN 55418
                                  John A. Hedback                           Final distribution creditor                 ($38,620.38)    2100-000
                                                                            account #
                                  John A. Hedback                           Final distribution creditor                   ($940.36)     2200-000
                                                                            account #
   03/26/21           2006        CLERK OF BANKRUPTCY COURT                 Final distribution creditor                                 2700-000                                         $121.02             $1,711.03
                                  200 US COURTHOUSE                         account #
                                  316 N ROBERT ST.
                                  ST PAUL, MN 55101
   03/26/21           2007        CHERYL G WESLER                           Distribution                                                                                              $1,711.03                  $0.00
                                  TIBBLE & WESLER CPA PC
                                  2813 WEST MAIN ST
                                  KALAMAZOO, MI 49006
                                  CHERYL G WESLER                           Final distribution creditor                  ($1,574.62)    3410-000
                                                                            account #
                                  CHERYL G WESLER                           Final distribution creditor                   ($136.41)     3420-000
                                                                            account #


                                                                                                               COLUMN TOTALS                                 $54,173.05              $54,173.05
                                                                                                                    Less: Bank Transfers/CD's                      $0.00                   $0.00
                                                                                                               Subtotal                                      $54,173.05              $54,173.05
                                                                                                                    Less: Payments to Debtors                      $0.00                   $0.00

                                                                                    Page Subtotals:                                                                $0.00             $53,993.79
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                                                                                                      $54,173.05    $54,173.05
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                                                                                                                                  Exhibit 9




                                                           Page Subtotals:                                $0.00         $0.00
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                                                                                                                                                               Exhibit 9
                                                                                         TOTAL OF ALL ACCOUNTS
                                                                                                                                           NET            ACCOUNT
                                                                                                       NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX1959 - Checking Account (Non-                             $54,173.05               $54,173.05                $0.00
                                            Interest Earn
                                                                                                            $54,173.05               $54,173.05                $0.00

                                                                                                      (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                              transfers)            to debtors)
                                            Total Allocation Receipts:                $1,096,174.67
                                            Total Net Deposits:                         $54,173.05
                                            Total Gross Receipts:                     $1,150,347.72




                                                                    Page Subtotals:                                          $0.00                $0.00
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